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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

CHARLES PONA,

Petitioner,
Vv. C.A. No. 08-270 S
A.T. WALL,

Respondent.

ORDER
The Report and Recommendation of United States Magistrate
Judge Jacob Hagopian filed on December 28", 2010 (document #7),
in the above-captioned matter is hereby accepted pursuant to
Title 28 United States Code § 636(b) (1). No objections having
been filed to the Report & Recommendation, the State’s Motion to
Dismiss the petition is hereby GRANTED and the Petition is

DISMISSED.

ENTER:

WoT

William E. Smith
United States District Judge

Date: fialli

 
